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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Western Division

Dawn Nastali
                                    Plaintiff,
v.                                                     Case No.: 3:22−cv−50212
                                                       Honorable Philip G. Reinhard
Dollar General Corporation
                                    Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, February 1, 2023:


        MINUTE entry before the Honorable Margaret J. Schneider: The parties' Proposed
Case Management Order [27] is adopted as modified as follows: Rule 26(a)(1) disclosures
due 02/28/23; 25 interrogatories and 15 requests for admission by each party to any other
party; 4 fact depositions by Plaintiff and 4 fact depositions by Defendant, each deposition
shall be limited to a maximum of 7 hours; file amended pleadings, add counts or parties,
and file third−party complaints by 05/01/23; Rule 26(a)(2)(C) disclosures due by
09/01/23; Rule 26(e) supplements due by 09/01/23; fact discovery ends 10/02/23. Any
retained expert discovery and dispositive motions are reserved at this time. The parties are
directed to file a joint status report by 05/01/23, updating the Court on the status of
discovery and any settlement discussions. Mailed notice. (jxk)




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